                   Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 1 of 21                                                         FILED
                                                                                                                                2005 Dec-16 PM 04:31
                                                                                                                                U.S. DISTRICT COURT
                                                                                                                                    N.D. OF ALABAMA
                                      UNITED STATES DISTRICT COURT
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                                                                RICT
                                                                     OFFICE OF THE CLERK
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                                                                             ' h,!
DEBRA P. HACKETT                           1        .        ,       '       h l   ,   1-7                                       TELEPHONE:
    Clerk
                                                                 December 12,2005                                    -334          223-7308
                                                                                                                            h


       Mr. Peny Mathis, Clerk
       United States District Court
       140 Hugo L. Black
        United States Courthouse
       1729 Fifth Avenue North
       Birmingham, AL 35203-2000

       Re:     United States of America v.
               Jason William Cates
               Cr. No. 2:01-cr-00086-T


       Dear Mr. Mathis:

               An Order transferring jurisdiction of probation of the defendant in the above-styled case to
       the Northern District of Alabama was signed by Judge Myron H. Thompson of this district on July
       21,2005, and was accepted by your district on August 26,2005. Pursuant to said Order, the Transfer
       of Jurisdiction form, with the following certified documents are enclosed.

               1. Indictment
               2. Judgment and Commitment
               3. Docket Sheet

               Please acknowledge receipt thereof on a copy of this transmittal letter and return in the
        enclosed, self-addressed envelope.

                                                                                             Sincerely,

                                                                                             DEBRA P. HACKETT, CLERK


                                                                                             BYm  r

                                                                                                     Sheila Carnes

                                                                                                     Deputy Clerk
       Isnc
       Enclosures
       cc:    Jason William Cates
              U. S. Attorney (MDA)
              U. S. Marshal (MDA)
              U. S. Probation Office (MDA)
              U. S. Probation Office (NDA)
                          Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 2 of 21

I QPROB 22
   (Rev. 2/88)

                                   TRANSFER OF JURISDICTION
                                       RECEIVED
 NAME AND ADDRESS OF PROBATIONERISUPERVISEDRELEASE&
                                                                              h   i    '    r "   ?'   'r




                                                                                             i ; \ 1: 04
                                                                                                             1
                                                                                                                            +-  DOCKET NUMBER (Tran. Court)

                                                                                                                                    2:O 1CROOO86-001
                                                                                                                                DOCKET NUMBER (Rec. Court)


                                                                                                                                DIVISION

                                      2fM DEC -9 P 1: 31                      .~ i d d j ~ ' i j j + &
                                                                                                     habama                 I              Northern
                                                                        .   - '. A&&%         SENTENCING         JUDGE
                                   DEBRA Fi. HACKETT, CLK                                     Myron H. Thompson, U. S. District Judge
 Jason William Cates                U.S. D~STR~,-TCOURT
                                    MIDPLF ~IlS'iRlCiA!.A                             DATES OF PROBATION1            FROM                      TO
                                                                            I SUPERVISEDRELEASE I                                          I
                                                                                                                 I                         I        05/0;!/08
 OFFENSE
 Threats Against The President of the United States
                                                                                                                                               I,



 PART 1 - ORDER TRANSFERRING JURISDICTION

 UNlTED STATES DISTRICT COURT FOR THE                    MIDDLE                   DISTRICT OF                    ALABAMA



         IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer
    or supervised releasee named above be transferred with the records of this Court to the United States
    District Court for the      NORTHERN DISTRICT OF ALABAMA                      upon that Court's order
    of acceptance of jurisdiction. This Court hereby expressly consents that the period of probktion or
    supervised release may be changed by the District Court to which this transfer is made without further
    inquiry of this court.*



                                                                                                            United States District Judge                 \
 *This sentence may be deleted in the discretion of the transferring Court.
         -
 PART 2 OZDER ACCEPTING JURISDICTION
                                                                                                                                                         -
 UNlTED STATES DISTRICT COURT FOR THE                  NORTHERN                       DISTRICT OF                ALABAMA



          IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervisedl
    releasee be accepted and assumed by this Court from and after the entry of this order.




      W          2      L      .                                                                                                                          -
                     Effective Date                                                          United States District Judge
                    Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 3 of 21


                              I N THE DISTRICT COURT OF THE U N I T E D STATES
                                   FOR THE MIDDLE DISTRICT OF ALABAMA                                      ',IM2
                                                                                                               CUAK
                                            NORTHERN DIVISION                                          U. S. DlSTAlCT COURT
                                                                                                       MIDDLE Dl!X O F U
          U N I T E D STATES OF AMERICA

                                                              )     CR. NO.         ol-wM
                                                                                  [18 USC 8 7 l ( a ) ;
          JASON WILLIAM CATES                                                      18 USC 8 7 5 ( c ) ]
                                                              1,
                                                              )     INDICTMENT

          The Grand J u r y c h a r g e s :

                                                          COUNT 1

                  On o r a b o u t t h e 1 4 t h day o f November, 2000, i n Elmore
                                                                                                                              I
                                                                                                                              I

1         Alabama, w i t h i n t h e Middle District o f Alabama,

                                               JASON WILLIAM CATES,
                                                                                                                                  I
                                                                                                                                  1

          defendant herein,             knowingly and w i l l f u l l y d e p o s i t e d f o r
I '
II        conveyance i n t h e m a i l ,          a letter containing a t h r e a t t o take the

          l i f e o f , and i n f l i c t b o d i l y harm upon t h e P r e s i d e n t of t h e U n i t e d

          S t a t e s i n v i o l a t i o n o f T i t l e 18, U n i t e d S t a t e s Code, S e c t i o n

I     .   871 ( a ) .

                                                          COUNT 2

                  On o r a b o u t t h e 1 4 t h day o f November, 2000, i n Elmore

          Alabama, w i t h i n t h e Middle D i s t r i c t o f Alabama,

                                               JASON WILLIAM CATES,

          d e f e n d a n t h e r e i n , t r a n s m i t t e d i n i n t e r s t a t e communication,      that

          i s : from Elmore, Alabama, t o Washington, D . C .                         ,   a letter

          c o n t a i n i n g a t h r e a t t o i n j u r e and k i l l U n i t e d S t a t e s D i s t r i c t

          Judge U . W .     Clemon, i n v i o l a t i o n o f T i t l e 18, U n i t e d S t a t e s Code,

          S e c t i o n 875 ( c )   .
      Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 4 of 21



                                            A TRUE BILL:




9
KENT B. BRUNSON
Assistant United States Attorney




                                    r r r r k , U S. b ~ s t r i c tCourt.
                                    M ~ d d kD~strictof Alabama
                           Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 5 of 21


>
    ~ A 245B
         O
             Sheet 1
                         Case 2:O.l -crT000@6-MHT Document 58
             (Rev. 3/01) Judgmmt m a Cnnnal ase
                                                                                            Filed 05/23/2002            pageIl
                                                                                                                                L
                                                                                                                                         --
                                                UNITEDSTATESDISTRICTCOURT                                                            MAY 2 3 @!1
                                 MIDDLE                                  District of                                   A    L       ~   A
                                                                                                                                        CLERK
                                                                                                                                           ICT
              UNTIED STATES OF AMERICA                                           J u D G m m IN A c R m m A ~ ~ & " n T s T OF
                                     v.                                          (For Offenses Committed On or After November 1,1987)

                   JASON WILLIAM CATES                                           Case Number:                         2:O 1CROOO86-001
                                                                                 Joseph Van Heest
                                                                                 Defendant's Attorney
    THE DEFENDANT:
    X pleaded guilty to count(s) One of the Indictment on 10/16/2OO1
         pleaded nolo contendere to count(s)
         which was accepted by the court.
    0 was found guilty on count(~)
                                                                                                               --
                                                                                                               C/                                        I


      after a plea of not guilty.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                                      Date Offense           Count
    Title & Section                       Nature of Offense                                                             Concluded           Nunrber(s1
    18:871(a)                             Threats Against the President of the United States                          11/14/2000                1




           The defendant is sentenced as provided in pages 2 through                    6        of this judgment. The sentence is imposed prusuant to
    the Sentencing Reform Act of 1984.
         The defendant has been found not guilty on count(s)
    X    Count(s) Two of the Indictment                         X   is   0 are dismissed on the motion of the United States.
              IT IS ORDERED that the defendant shall notify the United States attorney for this district.w@in 30 days of any c
    residence, or mailing address until all fines, restitution, costs, and special assessmats im
                                                                                                        Yd
    pay restitution, the defendant shall notify the court andunited States attorney of any materia change
                                                                                                       by in
                                                                                                                                            a
                                                                                                                                         re of name,
                                                                                                                   y e n t y e fully pid ordered to
                                                                                                                 de endant s economc circumstances.
                                                                                                             thelUd
                                                                                                           thu

    Defendant's Soc. Sec. No.:   XXX-XX-XXXX                                     05/22/2002
                                                                                                             -
                                                                                 Date of I m i t i o n of Judmncnt
    Defendant's Date of Birth:   11/09/1977
                                                                                         n
    Defendant's USM No.:         10908-002
    Defendant's Residence Address:

    305 County Road 467
    Hanceville, AL 35077                                                         MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                                 Name and Title of Judicial Ofliccr


                                                                                                                                           --      -     p




                                                                                 Date        I
    Defendant's Mailing Address:

    Same as Above
                                                                                                                                A ,     ma-
                                                                                        Clerk, U S . District Courl.
                                                                                        Middle District of Alabama
                        Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 6 of 21
                       Case 2:Ol-cr-00086-MHT                  Document 58          Filed 05/23/2002           Page 2 of 6
A 0 2458       (Rev. 3/01) Judgment in Criminal Case
               Shat 2 - Imprisonment                                                            -
                                                                                                                                       -
                                                                                                                                       4
                                                                                                         Judgmmt -Page     2      of   -    6
 DEFENDANT:                       JASON WILLIAM CATES
 CASE NUMBER:                     2:Ol CROOO86-001

                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of 33 Months
 The defendant shall stand committed upon release to federal custody. This sentence shall run consecutively to any state or
 federal sentence now being served.


           The court makes the following recommendations to the Bureau of Prisons:
           The Court recommends that the defendant be desi ted to a facility where Intensive Residential Substance Abuse Treatment and
           Intensive Mental Health Treatment are ava11able. X c o u r t further recommends that the defendant be designated to a facility as close
           to his home as possible.


           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:


                   as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0       before 2 p.m. on
                   as notified by the United States Marshal.
                   as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                               BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
                      Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 7 of 21
                     Case 2.01-cr-00086-MHT                  Document 58            Filed 05/23/2002           Page 3 of 6
A 0 245B


 DEFENDANT:
             (Rw. 3101) Judgment in a Cnminal Case
             Sheet 3 - Supervised Release


                             JASON WILLIAM CATES
                                                                                                           Judgment-Page     3     of
                                                                                                                                         -
                                                                                                                                         -      6


 CASE NUMBER:                2:O 1CR00086-00 1
                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term           3 Years




      The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of releasc: from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not illegally possess a controlled substance.
 For oflenses committed on or after September 13. 1994:
       The defendantshall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
 of release from impnsonment and at least two penodic drug tests thereafter.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse.
 CI    The defendant shall not possess a fuearm, destructive device, or any other dangerous weapon.
            If this judgment imposes a fine or a restitution obligation, it shall be a condition of su wised release that the defendant pay any
                                                                                                      8"
       such fine or restitution that remains unpaid at the copmencement of the term of supervise release in accordance with the Sc,hedule of
       Payments set forth in the Cn'minal Monetary Penalbes sheet of this judgment.
     The defendantshall comply with the standard conditionsthat have been adopted by this cowt (set forth below). The defendan!: shall also
 comply with the additional conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district witbout the permission of the court or probation officer;
           the defendant shall report to the probation oficer and shall submit a truthful and complete written report within the first five days of
           each montb,
           the defendant shall answer truthfully all inquiries by the probation ofiicer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training:, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation ofiicer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
           the defendant shall notify the probation oficer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court;
           as directed by the robation officer, the &fendant shall notify.third partiesof risks that may be occasion$ by .the defendant's criminal
           record or personarhistory.or charact~shcsand s k l l p m u t the pmbatmn oficer to make such notlficabons and to confirm the
           defendant s compliance wth such nohfication requuement.
                  Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 8 of 21
                 Case 2:01-cr-00086-MHT              Document 58        Filed 05/23/2002        Page 4 of 6
A 0 245B



DEFENDANT:
           (Rev. 3/01) Judgment in a Criminal Case
           Sheet 3C -~ u k i s c R delepse


                          JASON WILLIAM CATES
                                                                                            luds-Page     -            I
                                                                                                                            6


CASE NUMBER:              2:O lCROOO86-001

                                         SPECIAL CONDITIONS OF SUPERVISION
1 . The defendant shall participate in drug testing andlor treatment as directed by the probation officer. He shall contribute to
the cost of any treatment based on ability to pay and availability of third party payments.
2. The defendant shall participate in a mental health treatment program as directed by the probation officer and contribute to
the cost based on ability to pay and availability of third party payments.
3. While on supervised release, the defendant shall pursue paternity testing to determine if DeVon Duncan is his natural
child. If it is determined that the defendant is the natural father of this child, the defendant is ORDERED to pay child
support as ordered by the local cowt.
                           Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 9 of 21

~
.   -0




DEFENDANT:
                         Case 2:QI-~r-000p6-MHT Document 58
         ' 2 4 5 ~(Rev. 3/01) Judgment In a nmmal ase
                 sheet 5 -cri$nal   Monetary Penalties
                                                         6
                                        JASON WILLIAM CATES
                                                                          ,
                                                                                           Filed 05/23/2002              Page 5 of 6

                                                                                                             Judgmnt -Page         5
                                                                                                                                                  -
CASE NUMBER:                            2:Ol CR00086-00 1
                                                    CRIMINAL MONETARY PENALTIES
    The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set folth on
Sheet 5, Part B.
                             Assessment                                       -
                                                                              Fie                                    Reatltution
    TOTALS               $ 100.00                                         $   0.                                  $ 0.



           The determination of restitution is deferred until
           after such determination.
                                                                -. An Amended Judgment in a Criminal Case ( A 0 245C) will                       'be entered


    fl The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

           the priority order or percentage payment column ielow. However, pursuant to 18
           in fill prior to the United States receiving payment.
                                                                                                      &.r
           If the defendant makes a partial payment, each pa ee shall receive an approximately ro rtioned ayment, uniess specified otherwise in
                                                                                                  $ 36640, all nonfederal victims must be paid

                                                                                                                                       Priorlty Onler
                                                     *Total                                 Amount of                                  or Percentage
    Name of Pavee                                 Amount of Loss                        Restitution Ordered                             tl0-




    TOTALS                                  $                                       $


            If applicable, restitution amount ordered pursuant to plea agreement $

            The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full hefore the
            fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 36120. AlI of the payment options on Sheet 5, Part B may be
            subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

            The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
                 the interest requirement is waived for the      0 fine and/or               restitution.
                 the interest requirement for the            fme andfor            restitution is modified as follows:


    * Findings for the total amount of losses are required under Qa ten 109A, 1 10, 11OA, and 1 13Aof Title 18, United States Code, for offenses
    committed on or afier September 13, 1994 but before A p n l 2 2 1996.
                    Case 2:05-cr-00554-CLS Document 1 Filed 12/16/05 Page 10 of 21
                 Gqsf
-
DEFENDANT:
          (Rev.31
                       2:Ol -v:OO$l&MHT
                  ) u gmnt a nrmna
                              ln
          Sheet 6 - Criminal Monetary Pmalt~es


                           JASON WILLIAM CATES
                                                          Document 58             Filed 05/23/2002           Page 6 of 6

                                                                                                        Judgmnt - Pap        6
                                                                                                                                    - I
                                                                                                                                   of         6


CASE NUMBER:               2:O lCR00086-001

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A    X    Lump sum payment of %         100.00               due immediately, balance due

              not later than                                     ,Or
              in accordance with      rn   C,        D, or          E below; or
B    rn   Payment to begin immediately (may be combined with             rn C,       0 D, or     JI E below); or
C    0 Payment in                      (e.g., equal, weekly, monthly, quarterly) installments of $                  over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in                 (e.g., equal, weekly, monthly, quarterly) installments of %                  over a period o.f
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    X     Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary   alty payments shall be made to the Clerk, United States District Court, Middle District of A.labama,
           Post Oflice BOX711, &%tgomery, AL 36101, except those payments made through the Bureau of Prisons' Inmate F i i c i a l
           Responsibility Program.



Unless the court has expressly ordered otherwise in the special instruction above, if tbk judyent imposes a eriod of    r i s o n m ~ fpayment
                                    s be due during the period of ?+onmen.
of criminal m o n e ~ e n a 1 t i eshall                                        All a h h a monetary penafies,excep%ose                   made
through the Federal      eau of Prisons' Inmate Financ~alRespons~lhty Program, are made to the clerk of the court, unless otherwise directed
by the court, the probation officer, or the United States attorney.

The defendant sball receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant Name, Case Number, and Joint and Several Amount:




     The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine princip(a1,
(5) community reshtution, (6) fine interest (7) penalties, and (8) costs, inchding cost of prosecution and court costs.
CMIECF - U.S. District Case
                       Court: ALMD - Docket Report
                              2:05-cr-00554-CLS    Document 1 Filed 12/16/05 Page 11 of 21


                                                                                                     27BE, CLOSED

                                      U.S. District Court
                             Alabama Middle District (Montgomery)
                     CRIMINAL DOCKET FOR CASE #: 2:Ol-cr-00086-MHT-ALL




                                                  LsLile
                                      Internal Use Only                           d




         Case title: USA v. Cates
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         -     =
               -
               -   --=   -----   =-   --   -- -
                                              -   --   -                                061271200
                                                                                              -   1-- - --
                                                                                                     .           P




         Assigned to: Judge Myron H.
         Thompson

         Defendant
         Jason William Cates (1)                                represented by Federal Defender
         TERMINA TED: 05/23/2002                                               Federal Defenders
                                                                               Middle District of Alabama
                                                                               201 Monroe Street, Suite 1960
                                                                               Montgomery, AL 36 104
                                                                               334-834-2099
                                                                               Fax: 834-0353
                                                                               Email: ECFCMALM@fd.org
                                                                               TERMINATED: 05/23/2002
                                                                               LEAD A TTORNEY
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: Public Defender or
                                                                               Community Defender Appointment

                                                                              Joseph Peter Van Heest
                                                                              Law Office of Joseph P. Van Heest,
                                                                              LLC
                                                                              P.O. Box 4026
                                                                              402 S Decatur St
                                                                              Montgomery, AL 36103
                                                                              334-263-355 1
                                                           /4,20&-            Fax: 334-263-3227
                         Clerk. U.S. ~YsrrictCourt,                           Email: jpvanheestcourts@bellsouth.~net
                         Middle District of Alabama
                                                                              TERMINATED: 05/23/2002
                         BY                   PYk---'                         LEAD ATTORNEY
                                             u~e&t+Chk--                      ATTORNEY TO BE NOTICED
                                                                              Designation: Public Defender or
                                                                              Community Defender Appointment

         Pending Counts                                                       Disposition




1 of11
CM/ECF.- U S . District Court:
                        CaseALMD    - Docket Report
                               2:05-cr-00554-CLS    Document 1 Filed 12/16/05 Page 12 of 21


       18:871(a) THREATS AGAINST
       PRESIDENT - NMT $250,000; *;
       NMT 5 Y, B; NMT 3Y SUP REL; $100                           33 Mos Imp; 3 Yrs Sup Rel; $100 S.4
       SA; VWPA; G-LINES
       (1)

       Highest Offense Level (Opening)
       Felony

       Terminated Counts                                          Disposition
       l8:875(~)- INTERSTATE
       COMMUNICATION THREATS -
       NMT $250,000, *; NMT 5Y, B; NMT                            Dismissed on Government's 5/22/02
       3Y SUP REL; $100 SA; VWPA;                                 Oral Motion
       G-LINES
       (2)

        Highest Offense Level (Terminated)
        Felony

        Complaints                                                Disposition
        None



        Plaintiff
        United States of America                    represented by Kent B. Brunson
                                                                   U.S. Attorney's Office
                                                                   PO Box 197
                                                                   Montgomery, AL 36101-0197
                                                                   334-223-7280
                                                                   Fax: 223-7560
                                                                   Email: Kent.Brunson@usdoj.gov
                                                                   LEAD A TTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                                                      -
        Date Filed         #                                  Docket Text
                                                                                                      -
        061271200 1            1 INDICTMENT as to Jason William Cates (1) count(s) 1 , 2 (dmk)
                                   (Entered: 06/29/2001)
                                                                                                      -
        06/27/2001                 **Added Government Attorney Kent B. Brunson as to Jason William
                                   Cates (dmk) (Entered: 06/29/2001)
CM/ECF - U S . District Court:
                        CaseALMD    - Docket Report
                               2:05-cr-00554-CLS    Document https://ecf.alrnd.circl Page 13 of 21 18427621615276-L...
                                                             1 Filed 12/16/051.dcn/cgi-bin/DktRpt.p1?5


                                   Magistrate Judge Susan Russ Walker assigned to case for discovery
                                   matters as well as matters subsequently referred by District Judge . (drr~k)
                                   (Entered: 06/29/2001)
                                   (drnk) (Entered: 06/29/2001)
                                   **Added lip' party US Marshals Service, Montgomery U.S. Probation,
                                   U.S. Pretrial (drnk) (Entered: 06/29/200 1)
                                   **Added 'ip' party Jason William Cates, c/o Easterling Correctional
                                   Facility, Clio, AL (dmk) (Entered: 06/29/2001)
                                   Arrest WARRANT issued as to Jason William Cates (dmk) (Entered:
                                   06/29/200 1)
                                   PETITION by USA for Writ of Habeas Corpus ad prosequendum as to
                                   Jason William Cates ( referred to Mag. Judge Susan R. Walker ) (dkt
                                   clerk) (Entered: 06/29/2001)
                                   ORDER as to Jason William Cates granting [3-11 petition as to Jason
                                   William Cates (1); directing clerk to issue writ of habeas corpus ad
                                   prosequendum addressed to Easterling Correctional Facility, Clio, AL
                                   commanding him to deliver defendant Cates to USM and bring to court
                                   and return when Court is finished setting Arraignment for at 10:OO
                                   7/12/01 for Jason William Cates for Fifth Floor Courtroom before Mag.
                                   Judge Susan R. Walker in Fifth Floor Courtroom ( Signed by Mag. Judge
                                   Susan R. Walker ) Copies mailed to: Deft., Copies furnished to: USA,
                                   USM, USPO, USPTS, FD, YG ,HC, JT (dmk) (Entered: 07/06/2001)
                                   WRIT of Habeas Corpus ad Prosequendum issued as to Jason William
                                   Cates for July 12,2001 (dmk) (Entered: 07/06/2001)
                                   **Location LO (per 7/6/01 writ) as to Jason William Cates (defendant in
                                   Montgomery City Jail per USM1sOffice) (snc) (Entered: 0711812001)
                                   Initial appearance as to Jason William Cates held before Mag. Judge
                                   Susan R. Walker on 7/12/01 (Defendant informed of rights.) (jct)
                                   (Entered: 0711212001)
                                                                                 --
                                   CJA 23 FINANCIAL AFFIDAVIT by Jason William Cates (jct) (Enterlzd:
                                   07/12/2001)
                                   ORAL ORDER as to Jason William Cates , Appointing Counsel - Federal
                                   Defender ( Entered by Mag. Judge Susan R. Walker ) (jct) (Entered:
                                   07/12/2001)
                                   **Added for Jason William Cates Attorney Federal Defender (jct)
                                   (Entered: 07/12/2001)
                                   ARRAIGNMENT as to Jason William Cates held before Mag. Judge
                                   Susan R. Walker on 7/12/01 Defendant(s) appeared with counsel and after
                                   having been advised of Defendant(sl) rights, entered a plea of not guilty.
                                   (jct) (Entered: 07/12/2001)
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                                  PLEA of Not Guilty: Jason William Cates (1) count(s) 1, 2 ; Court accepts
                                  plea. (jct) (Entered: 07/12/2001)
                                  Courtroom Deputy's Minutes as to Jason William Cates : Initial
                                  Appearance/Arraignment (Tape #2 111) (jct) (Entered: 071121200 1)
                                                                                                          -
                                  Arrest WARRANT Returned Executed as to Jason William Cates on
                                  711 1101 (ws) (Entered: 07116/2OOl)
                                  ORDER as to Jason William Cates Appointing Federal Public Defender (
                                  Signed by Mag. Judge Susan R. Walker ) Copies mailed to: Deft, Copies
                                  furnished to: USA, USM, USPO, USPTS, FD, SC, JT (ws) (Entered:
                                  0711812001)
                                  ORDER on Arraignment as to Jason William Cates setting a U.S.
                                  Probation Officer conference for 8/7/01 at 9:30 a.m.; directing that
                                  Discovery be conducted according to the requirements of this court's
                                  Standing Order on Criminal Discovery; that the government provide
                                  initial disclosures on or before 7/12/01; the defendant shall provide
                                  disclosures on or before 7/19/01; All Pretrial Motions must be filed no
                                  later than 8/3/01; directing that Pretrial Conference set for 10:45 a.m. on
                                  8/8/01 for Jason William Cates in chambers before Mag. Judge Susan It.
                                  Walker; Jury Trial set for 10:OO a.m. on 9/5/01 for Jason William Cates in
                                  U.S. Courthouse before Unassigned Judge; Jury Selection set for 10:OO
                                  a.m. on 9/5/01 for Jason William Cates in U.S. Courthouse before
                                  Unassigned Judge and government response to pretrial motions due 10
                                  days from motion filing date. ( Signed by Mag. Judge Susan R. Walker )
                                  Copies mailed to: Deft, Copies hrnished to: USA, USM, USPO, USPTS,
                                  FD, WR, SC, JT, HC, YG (ws) (Entered: 07/18/2001)
                                  NOTICE of Appearance for Jason William Cates by (Appointed) Attorney
                                  Joseph Peter Van Heest (snc) (Entered: 07118/2001)
                                  NOTICE OF INSANITY DEFENSE by Jason William Cates (ws)
                                  (Entered: 08/06/2001)
                                  Pre-trial conference as to Jason William Cates held before Mag. Judge
                                  Susan R. Walker on 8/8/01 (jct) (Entered: 08/08/2001)
                                  Courtroom Deputy's Minutes as to Jason William Cates : Pretrial
                                  Conference (Tape #2 126) (jct) (Entered: 08/08/200 1)
                                  PRETRIAL CONFERENCE ORDER as to Jason William Cates setting
                                  Jury Selection for 9/5/01 , setting Jury Trial on 10:OO 9/5/01 before Judge
                                  Myron H. Thompson , setting voir dire questions due on 8/29/01 , setting
                                  Motion in Limine Filing deadline for 8/29/01 , setting proposed jury
                                  instructions due on 8/29/01 , and setting Plea Agreement deadline for (
                                  Signed by Mag. Judge Susan R. Walker ) Copies mailed to: dft, Copies
                                  faxed to: USA, FD, USPO, USPTS, USM and furnished YG, HC, WAR
                                  (snc) (Entered: 0812 112001)
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                                    CASE assigned to Judge Myron H. Thompson (snc) (Entered:
                                    0812 112001)
                                    TRIAL NOTICE as to Jason William Cates ;Trial set for 10:OO 9/5/01 for
                                    Jason William Cates at Second Floor Courtroom ;TRIAL Notice to df?,
                                    faxed to FD, USA, USM, USPO, USPTSO; Juror Profile & Clothing
                                    Notices attached (snc) (Entered: 08/23/2001)
                                    Unopposed MOTION by Jason William Cates to continue trial [16-11
                                    referred to Judge Myron H. Thompson (snc) (Entered: 08/23/2001)
                                    WAIVER of Speedy Trial by Jason William Cates Referred to Judge
                                    Thompson (snc) (Entered: 08/23/200 1)
                                    ORDER as to Jason William Cates granting [16-11 motion to continue
                                    trial as to Jason William Cates (1) Continuing trial in Interests of Justice
                                    Time Excluded from 8/24/01 to 10/22/01 ,resetting Jury Selection for
                                    10:OO 10/22/10 for Jason William Cates before Judge Ira De Ment , and
                                    Jury Trial on 10:OO 10/22/01 for Jason William Cates Judge Myron H.
                                    Thompson ( by Judge Myron H. Thompson ) Copies mailed to: dft, faxed
                                    to: USA, USM, USPO, USPTSO, FD, and furnished RL, YG, HC, WAR
                                    (snc) (Entered: 08/24/200 1)
                                                                                                               -
                                    NOTICE OF FILING PSYCHOSOCIAL EVALUATION and MOTION
                                    to Seal [19-11 by Jason William Cates referred to Mag. Judge Susan R.
                                    Walker SEALED per 8/28/01 Order (ws) Modified on 09/12/2001
                                    (Entered: 08/29/200 1)
                                    Psychiatric Report (Sealed) received as to Jason William Cates (ws)
                                    (Entered: 08/29/2001)
                                    STAMPED ORDER as to Jason William Cates granting [19-11 motion to
                                    Seal (report) ( Entered by Mag. Judge Susan R. Walker ) Copies furnished
                                    to: FD, USA, USPO, USPTS SEALED (snc) Modified on 09/12/2001
                                    (Entered: 09/12/2OO1)
                                    ORDER as to Jason William Cates resetting Pretrial Conference for 3 :15
                                    9/24/01 before Mag. Judge Susan R. Walker In Chambers ( Signed by
                                    Mag. Judge Susan R. Walker ) Copies mailed to: dfi, Copies furnished .to:
                                    FD, USA, USM, USPO, USPTS and furnished JT, YG, HC (snc)
                                    (Entered: 09/12/2001)
                                    ** Renoticed document [2 1- 1] order (to select all parties) (snc) (Entered:
                                    0911212001)
                                                                                                              -
                                    Pre-trial conference as to Jason William Cates held before Mag. Judge
                                    Susan R. Walker on 9/24/01 (Tape No. 5001w) (dmk) (Entered:
                                    09/24/200 1)
                                                                                                     -   --
                                    Courtroom Deputy's Minutes as to Jason William Cates : Pretrial
                                    conference held before Mag. Judge Walker (Tape No. 5001w) (dmk)
                                    (Entered: 09/24/200 1)
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                                   PRETRIAL CONFERENCE ORDER as to Jason William Cates Setting
                                   Jury Selection for 10:OO a.m. on 10/22/01 for Jason William Cates at U.S.
                                   Courthouse before Judge Myron H. Thompson ; Setting Jury Trial on
                                   10:OO a.m. on 10/22/01 for Jason William Cates before Judge Myron H.
                                   Thompson in U.S. Courthouse , and is expected to last 1 day; there are no
                                   motions currently pending and the time set by the court for filing motions
                                   has passed; Set voir dire questions due on or before 10115/01 for Jason
                                   William Cates ; All Motions in Limine shall be filed on or before
                                   10115/01; Set proposed jury instructions due on or before 10115/01 for
                                   Jason William Cates; the last day the court will entertain a plea is
                                   10117/01 ( Signed by Mag. Judge Susan R. Walker ) Copies mailed to:
                                   Deft, Copies to: USA, USM, USPO, USPTS, FD, SC, HC, YG, WR, JT
                                   (ws) Modified on 09/26/2001 (Entered: 09/26/2001)
                                   Deadline updated as to Jason William Cates, Setting Jury Selection for
                                   10:OO a.m. on 10/22/01 for Jason William Cates at First Floor Courtroom
                                   before Judge Ira De Ment in U.S. Courthouse , Setting Jury Trial on 10:OO
                                   a.m. on 10/29/01 for Jason William Cates before Judge Myron H.
                                   Thompson in Second Floor Courtroom pursuant to Judge Thompson's
                                   Order filed on 8/24/01 (ws) Modified on 09/27/2001 (Entered:
                                   09/27/200 1)
                                   TRIAL NOTICE as to Jason William Cates ; Trial set for 9:00 10/29/0:1
                                   for Jason William Cates at Second Floor Courtroom ; TRIAL Notice to
                                   dft, FD, USA, USM, USPO, USPTSO; juror profile and clothing Notic'es
                                   attached (snc) (Entered: 10/04/2001)
                                    ORDER as to Jason William Cates refemng the defendant to the
                                    Magistrate Judge for guilty plea proceedings ( Signed by Judge Myron H.
                                    Thompson ) Copies mailed to: dft, Copies furnished to: FD, USA, USM,
                                    USPO, USPTS, Judge Walker, JT (snc) (Entered: 101151200 1)
                                                                           -          --      -




                                    ORDER as to Jason William Cates setting Change of Plea Hearing for
                                    10:OO 10/16/01 for Jason William Cates at Third Floor Courtroom before
                                    Mag. Judge Susan R. Walker in Third Floor Courtroom , and directing
                                    clerk to notify counsel by facsimile ( Signed by Mag. Judge Susan R.
                                    Walker ) Copies mailed to: dft, Copies faxed to: FD, USA, USM, USPO,
                                    USPTS, JT, YG, HC (snc) (Entered: 10/15/2001)
                                    Change of Plea hearing held in order for defendant to change hisher plea
                                    to a plea of, Guilty: Jason William Cates (1) count(s) 1 . Court Accepts
                                    Plea. Count 2 to be dismissed at sentencing. (jct) (Entered: 10/16/2001)
                                    Consent by counsel and defendant to enter guilty plea before U. S.
                                    Magistrate Judge as to Jason William Cates (jct) (Entered: 10/16/2001)
                                                                                                        --




                                    Courtroom Deputy's Minutes as to Jason William Cates : Change of Plea
                                    Hearing ORAL PLEA AGREEMENT (Jimmy Dickens, Court Reporter)
                                    (jct) (Entered: 101161200 1)
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                                    ORAL ORDER remanding defendant to custody of U. S. Marshal as to
                                    Jason William Cates ( Entered by Mag. Judge Susan R. Walker ) ('jct)
                                    (Entered: 1011612001)
                                    REPORT AND RECOMMENDATIONS of Mag. Judge Susan R. Walker
                                    as to Jason William Cates Re: Guilty Plea, Objections due by 10/26/01
                                    [30-11 report and recommendations Copies mailed to: dft, Copies faxed
                                    to: FD, USA, USPO, USTPS, USM (snc) (Entered: 10/16/2001)
                                    **Terminated trial deadlines as to Jason William Cates (snc) (Entered:
                                    10/23/2001)
                                    PRO SE MOTION by Jason William Cates for Joseph Van Heest to
                                    Withdraw as Attorney [31- 11 referred to Mag. Judge Susan R. Walker
                                    (snc) (Entered: 10/23/2001)
                                    ORDER as to Jason William Cates accepting the defendnat's plea of guilty
                                    to Count I of the indictment and adjudging him guilty ( Signed by Judge
                                    Myron H. Thompson ) Copies mailed to: dfi, Copies furnished to: USA,
                                    FD, USPO, USPTSO, USM (snc) (Entered: 1013112001)
                                    ORDER as to Jason William Cates setting Sentencing for 9:00 1/4/02
                                    before Judge Myron H. Thompson in Second Floor Courtroom ,directi-ng
                                    counsel to communicate in writing to the PO on obe before 12113/01 any
                                    objections to the PSR , and directing parties to be available for a
                                    conference with the PO on 12/14/01 at 9:00 a.m., as outlined in order (
                                    Signed by Judge Myron H. Thompson) Copies mailed to: dft, Copies
                                    furnished to: FD, USA, USM, USPO, USPTS, YG, HC (snc) (Entered:
                                    1013112001)
                                    ORDER as to Jason William Cates directing the defendant to show cause
                                    why his current counsle should be replaced by 1/19/01 or file a motion to
                                    withdraw his motion re [31-11 motion for Joseph Van Heest to Withdraw
                                    as Attorney and directing the Clerk to attach a copy of the defendant's
                                    letter to this order. ( Signed by Mag. Judge Susan R. Walker ) Copies
                                    mailed to: dft, Copies furnished to: FD, USA, USPO, USPTS (snc)
                                    (Entered: 11/02/2001)
                                                                                            ---       - -




                                    Pro Se MOTION by Jason William Cates for Appointment of New
                                    Counsel [35-11 referred to Mag. Judge Susan R. Walker (snc) (Entered:
                                    11/28/2001)
                                    ORDER as to Jason William Cates denying [3 1-11 motion for Joseph Van
                                    Heest to Withdraw as Attorney as to Jason William Cates (1) ( Signed by
                                    Mag. Judge Susan R. Walker ) Copies mailed to: Defendant, Copies
                                    furnished to: USA, USM, USPO, USPTS, FD, SC, JT (ws) (Entered:
                                    11/28/2001)
                                    ORDER as to Jason William Cates Setting Motion hearing for 10:OO a.m.
                                    on 12113/01 for Jason William Cates before Mag. Judge Susan R. Walker
                                    in Third Floor Courtroom re: [35-11 for Appointment of New Counsel;
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                                   directing present counsel for defendant to consult with defendant and
                                   attempt to resolve the issues raised by defendant prior to hearing; direcling
                                   the Clerk of the Court to serve a copy of the letter on Attorney Joe Van
                                   Heest and a copy of the order on both Attorney Van Heest and defendant;
                                   directing the U.S Marshal to produce defendant for hearing if the matter is
                                   not resolved. ( Signed by Mag. Judge R. Walker ) Copies mailed to:
                                   Defendant, Copies firnished to: USA, USM, USPO, USPTS, FD, JT, SIC,
                                   YG, HC (ws) (Entered: 11/30/2001)
                                   Motion hearing held before Mag. Judge Susan R. Walker as to Jason
                                   William Cates re: [35-11 motion for Appointment of New Counsel, [3 1-11
                                   motion for Joseph Van Heest to Withdraw as Attorney (jct) (Entered:
                                   1211312001)
                                   Courtroom Deputy's Minutes as to Jason William Cates :Hearing on
                                   defendant's motion for new counsel (Witness list attached) (Tape
                                   #5OO5W) (jct) (Entered: 1211312001)
                                   MOTION by Jason William Cates to continue sentencing [39-11 referred
                                   to Judge Myron H. Thompson (snc) (Entered: 12/20/2001)
                                   ORDER as to Jason William Cates granting [39-11 motion to continue
                                   sentencing as to Jason William Cates (1) Resetting Sentencing for 10:0#0
                                   a.m. on 2115/02 for Jason William Cates in Second Floor Courtroom
                                   before Judge Myron H. Thompson at U S . Courthouse ( Signed by Judge
                                   Myron H. Thompson ) Copies mailed to: Defendant, Copies furnished 1.0:
                                   USA, USM,USPO, USPTS, FD, SC, YG,HC (ws) (Entered: 01/03/2002)
                                   Pro Se MOTION by Jason William Cates for Appointment of Counsel
                                   [4l- 11 referred to Mag. Judge Susan R. Walker (snc) (Entered:
                                   0210 112002)
                                                                                                             --




                                   Unopposed MOTION by Jason William Cates for Mental Health
                                   Examination [42- 11 referred to Judge Myron H. Thompson (snc) (Entered:
                                   02/07/2002)
                                   Unopposed MOTION by Jason William Cates to Continue Sentencing
                                   [43-11 referred to Judge Myron H. Thompson (snc) (Entered: 02/07/2002)
                                   MOTION by Jason William Cates to Extend Time to Respond to Draft
                                   Presentence Report [44- 11 referred to Judge Myron H. Thompson (snc)
                                   (Entered: 02/07/2002)
                                   ORDER as to Jason William Cates granting [42-11 motion for Mental
                                   Health Examination, directing the USM to immediately remove defendant
                                   to a facility for observation and examination for a period of 45 days by a
                                   psychiatrist; setting psychiatric report deadline for 45 days from the date
                                   the defendant arrives at the institution , directing that the defendant be
                                   incarcerated and remain at the institution until further order of this court;
                                   directing the clerk to furnish the USM with three certified copies of this
                                   order ( Signed by Judge H. Thompson ) Copies mailed to: dft, Copies
                                   furnished to: fd, usa, usm (3 certified cys), uspo, usptso (snc) (Entered:
                                                                                                              -
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                                    ORDER as to Jason William Cates granting [43-11 motion to Continue
                                    Sentencing as to Jason William Cates (1) resetting Sentencing for 8: 15
                                    5/21/02 before Judge Myron H. Thompson in Second Floor Courtroom (
                                    Signed by Judge Myron H. Thompson ) Copies mailed to: dft, Copies
                                    furnished to: fd,usa,usm,uspo,yg,hc (snc) (Entered: 02/07/2002)
                                    ORDER as to Jason William Cates granting [44-11 motion to Extend
                                    Time to Respond to Draft Presentence Report, and directing that response
                                    is due 14 days after the court enters an order on defendant's competency to
                                    be sentenced. ( Signed by Judge Myron H. Thompson ) Copies mailed to:
                                    dft, Copies furnished to: usa, uspo, usptso (snc) (Entered: 02/07/2002)
                                    Attorney Van Heest's NOTICE of Filing of Correspondence from
                                    defendant Jason William Cates. Letter dated 2/5/02 from defendant
                                    attached. Referred to Mag Judge Susan Walker (snc) (Entered:
                                    02/07/2002)
                                    ORDER as to Jason William Cates denying as moot [4 1-11 motion for
                                    Appointment of Counsel and [35- 11 motion for Appointment of New
                                    Counsel, in light of the letter from defendant filed 2/7/02. ( Signed by
                                    Mag. Judge Susan R. Walker ) Copies mailed to: dft, Copies furnished to:
                                    fd, usa, usm, uspo, usptso (snc) (Entered: 02/19/2002)
                                    LETTER (to Judge Thompson) from Federal Detention Center, Miami, FL
                                    as to Jason William Cates REQUESTING additional time for evaluation
                                    (snc) (Entered: 03/08/2002)
                                    ORDER as to Jason William Cates granting BOP's request for addition.al
                                    time to evaluate and report on the mental condition of the defendant (
                                    Signed by Judge Myron H. Thompson ) Copies furnished to: counsel, ma,
                                    usm, uspo, uspts (snc) (Entered: 03/08/2002)
                                    Deadline updated as to Jason William Cates, resetting Evaluation Report
                                    deadline to 4/22/02 for Jason William Cates pursuant to BOP's request
                                    and Court's 3/7/02 order DN 5 1 (snc) (Entered: 03/08/2002)
                                    Psychiatric Report (Sealed) received as to Jason William Cates Referred
                                    to Judge Thompson (snc) (Entered: 04/26/2002)
                                    ORDER as to Jason William Cates directing the USM to remove
                                    defendnat Cates from the custody of authorities at the Federal Detention
                                    Center in Miami, FL to Montgomery, AL , setting Mental Competency
                                    Hearing for 8: 15 5/21/02 for Jason William Cates at Second Floor
                                    Courtroom before Judge Myron H. Thompson , and directing the clerk to
                                    furnisht the USM with 3 certified copies of this order ( Signed by Judge
                                    Myron H. Thompson ) , Copies furnished to: fd, usa, usm, uspo, usptso.,
                                    yg, md (snc) (Entered: 05/0112002)
                                    NOTICE of Arrival in District by US Marshals Service as to Jason
                                    William Cates (Return from Study and Observation) (snc) (Entered:
                                                                                                            -
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                                    Return on execution of 5/1/02 order by US Marshals Service as to Jason
                                    William Cates (snc) (Entered: 05/20/2002)
                                    Competency Hearing as to Jason William Cates held before Judge Myron
                                    H. Thompson on 5/21/02 (snc) (Entered: 05/22/2002)
                                                                                                              -
                                    Sentencing commenced before Judge Myron H. Thompson on 5/21/02
                                    (snc) (Entered: 05/22/2002)
                                    ORDER as to Jason William Cates that defendant is DECLARED to be
                                    mentally competent to be tried, and to have been mentally competent
                                    throughout these proceedings, including during his entry of a guilty plea
                                    on 10116/01 ( Signed by Judge Myron H. Thompson ) Copies mailed to':
                                    Defendant, Copies furnished to: USA, USM, USPO, USPTS, FD, SC (ws)
                                    (Entered: 05/22/2002)
                                    **Terminated document(s) as to Jason William Cates : terminating [30-11
                                    report and recommendations Objections due by 10/26/01 [30-I] report and
                                    recommendations as to Jason William Cates (1) (sql) (Entered:
                                    05/22/2002)
                                    Sentencing held (hearing completed) before Judge Myron H. Thompson
                                    on 5/22/02 Jason William Cates (1) count(s) 1 (snc) (Entered: 05/22/2002)
                                                                                                 - -




                                    MOTION in open court by Jason William Cates to UNSEAL Psychiatric
                                    Evaluations for the Limited Purpose of Allowing PO to Submit them to
                                    BOP with PSR [O-01 referred to Judge Myron H. Thompson (snc)
                                    (Entered: 05/22/2002)
                                    ORAL ORDER as to Jason William Cates granting [O-01 oral motion to
                                    UNSEAL Psychiatric Evaluations for the Limited Purpose of Allowing
                                    PO to Submit them to BOP with PSR (1) ( Entered by Judge Myron H.
                                    Thompson ) (snc) (Entered: 05/22/2002)
                                    MOTION in open court by USA as to Jason William Cates to Dismiss
                                    Count 2 of the Indictment [O-01 referred to Judge Myron H. Thompson
                                    (snc) (Entered: 05/22/2002)
                                                                                                         --




                                    ORAL ORDER granting [O-01 oral motion to Dismiss Count 2 of the
                                    Indictment as to Jason William Cates (1) ( Entered by Judge Myron H.
                                    Thompson ) (snc) (Entered: 05/22/2002)
                                    DISMISSAL of Count(s) on Government Motion as to Jason William
                                    Cates Counts Dismissed: Jason William Cates (1) count(s) 2 (snc)
                                    (Entered: 05/22/2002)
                                    Courtroom Deputy's Minutes of May 21,2002, COMPETENCY
                                    HEARING and May 21-22,2002, Sentencing as to Jason William Cates
                                    before Judge Myron H. Thompson; Mitchell Reisner, Court Reporter (s:nc)
                                    (Entered: 05/22/2002)
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                                      JUDGMENT Jason William Cates (1). The defendant, represented by Atty
                                      Joseph Van Heest, pleaded guilty to count 1 of the indictment on
                                      10116/O 1. As pronounced on 5/22/02, the defendant is sentenced to: Count
                                      1 - 33 Mos Imp; 3 Yrs Sup Rel, as outlined in judgment; $100 SAYdue
                                      immediately. Count 2 - Dismissed on Government's 5/22/02 Oral Motion.
                                      The defendant shall stand committed upon release to federal custody; this
                                      sentence shall run consecutively to any state or federal sentence now being
                                      served. The defendant is remanded to the custody of the United States
                                      Marshal. ( Signed by Judge Myron H. Thompson ) Copies mailed to: dft,
                                      Copies furnished to: fd, usa, usm, uspo, usptso, finance clerk, usflu (snc)
                                      (Entered: 05/23/2002)
                                      **Case closed as to Jason William Cates (all defendants). party Jason
                                      William Cates (snc) (Entered: 05/23/2002)
                                      WRIT of Habeas Corpus ad Prosequendum executed as to Jason William
                                      Cates; defendant returned to Ventress Correctional Fac on 6/4/02 (snc)
                                      (Entered: 0611712002)
                                      Judgment Returned Executed as to Jason William Cates ; on 2/26/03
                                      delivered to MNAM Marianna, FL (ws) (Entered: 03/17/2003)
                                      Received $25.00 assessment payment from BOP for Jason William Cates;
                                      Receipt #98088 (ws) (Entered: 07/16/2003)
                                      Received $25.00 assessment payment from BOP Jason William Cates;
                                      Receipt #99345 (ws) (Entered: 1011512003)
                                                                                                               -




                                      Received $25.00 assessment payment as to Jason William Cates; Receipt
                                      #I00598 (ws) (Entered: 0111612004)
                                      Payment Received from BOP: as to Jason William Cates $25.00
                                      assessment; receipt number 102165 (ws, ) (Entered: 05114/2OO4)
                                                                                                            - -- -

                                      ORDER TRANSFERRING JURISDICTION from this District to the
                                      Northern District of Alabama as to Jason William Cates . Signed by Judge
                                      Myron H. Thompson on 7/21/05, signed by Judge Lynwood Smith (US'DC
                                      NDAL) on 8/26/05 and received for transfer on 12/9/05. (snc) (Entered:
                                      12/12/2005)
                                                                                                  -       --

                                      Supervised Release Jurisdiction Transferred to Northern District of
                                      Alabama as to Jason William Cates; Transmitted Transfer of Jurisdiction
                                      form, with certified copies of indictment, judgment and docket sheet.
                                      (snc) (Entered: 12112/2OO5)
